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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

VICTOR MAURICE BLACKSTON                       CIVIL ACTION

VERSUS                                         NO: 17-3048

BP EXPLORATION & PRODUCTION,                   SECTION T (5)
INC., ET AL



DEBRA GOREE BUTLER                             CIVIL ACTION

VERSUS                                         NO: 17-3077

BP EXPLORATION & PRODUCTION,                   SECTION T (4)
INC., ET AL



JOREY DANOS                                    CIVIL ACTION

VERSUS                                         NO: 17-3113

BP EXPLORATION & PRODUCTION,                   SECTION T (1)
INC., ET AL



BENNY DARDAR, SR.                              CIVIL ACTION

VERSUS                                         NO: 17-3138

BP EXPLORATION & PRODUCTION,                   SECTION T (5)
INC., ET AL

VANTAVIOUS LATRELL DUCKSWORTH                  CIVIL ACTION

VERSUS                                         NO: 17-3157

BP EXPLORATION & PRODUCTION,                   SECTION T (1)
INC., ET AL




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PATRICK POIRSON                                CIVIL ACTION

VERSUS                                         NO: 17-3177

BP AMERICA PRODUCTION                          SECTION T (2)
COMPANY, ET AL

CHARLES M. FRANKLIN, JR.                       CIVIL ACTION

VERSUS                                         NO: 17-3215

BP EXPLORATION & PRODUCTION,                   SECTION T (4)
INC., ET AL



FLINT JAMES MARTIN                             CIVIL ACTION

VERSUS                                         NO: 17-3358

BP EXPLORATION & PRODUCTION,                   SECTION T (4)
INC., ET AL

LARRY STEPHEN MCCAMMON                         CIVIL ACTION

VERSUS                                         NO: 17-3375

BP EXPLORATION & PRODUCTION,                   SECTION T (4)
INC., ET AL

JEFFARI S. MCMILLAN                            CIVIL ACTION

VERSUS                                         NO: 17-3396

BP EXPLORATION & PRODUCTION,                   SECTION T (4)
INC., ET AL

WILLIE LOUIS CASEY, JR.                        CIVIL ACTION

VERSUS                                         NO: 17-3525

BP EXPLORATION & PRODUCTION,                   SECTION T (2)
INC., ET AL



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    CHRISTOPHER CHARLES CLAY, SR.                            CIVIL ACTION

    VERSUS                                                   NO: 17-3526

    BP EXPLORATION & PRODUCTION,                             SECTION T (5)
    INC., ET AL

    BRANDON ANTHONY NEWTON                                   CIVIL ACTION

    VERSUS                                                   NO: 17-3588

    BP EXPLORATION & PRODUCTION,                             SECTION T (5)
    INC., ET AL



    BRIAN LARS ROBINSON                                      CIVIL ACTION

    VERSUS                                                   NO: 17-3606

    BP EXPLORATION & PRODUCTION,                             SECTION T (1)
    INC., ET AL


                                         ORDER


        Each of the captioned cases is a B-3 medical case arising out of the Deepwater

Horizon oil spill.     Before the Court now are two identical motions filed by

Defendants, BP Exploration & Production Inc., BP America Production Company,

and BP p.l.c. (collectively “BP”): 1 a Daubert Motion to Exclude the General Causation

Opinions of Plaintiff’s Expert, Dr. Jerald Cook and a Motion for Summary Judgment.

Plaintiffs in each above captioned case have filed an identical opposition. Having

considered the motions and legal memoranda, the record, and the applicable law,

the Court finds that both motions should be granted.


1Halliburton Energy Services, Inc., Transocean Deepwater, Inc., Transocean Holdings, LLC, and
Transocean Offshore Deepwater Drilling, Inc. join in both motions.

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        Both the Daubert Motion and the Motion for Summary Judgment filed in the

above captioned cases are identical to motions this Court has previously granted in

similar B-3 medical cases. 2 The Court is not alone in this conclusion, which is joined

by at least seven other judges of this Court. Therefore, for the previous reasons cited

by this Court as well as the seven other judges of this Court, both the Daubert Motion

and the Motion for Summary Judgment shall be granted.

        Accordingly,

        IT IS HEREBY ORDERED that Defendants’ Daubert Motions to Exclude the

General Causation Opinions of Plaintiff’s Expert, Dr. Jerald Cook are GRANTED.

        IT IS FURTHER ORDERED that Defendants’ Motions for Summary

Judgment are GRANTED.

        IT IS FURTHER ORDERED that all claims of the above captioned Plaintiffs

against Defendants, BP Exploration & Production Inc., BP America Production

Company, BP p.l.c., Halliburton Energy Services, Inc., Transocean Deepwater, Inc.,

Transocean Holdings, LLC, and Transocean Offshore Deepwater Drilling, Inc. are

hereby DISMISSED with prejudice,


        New Orleans, Louisiana, this 14th day of September, 2022.




                                                _________________________________________
                                                             GREG GERARD GUIDRY
                                                        UNITED STATES DISTRICT JUDGE



2 See Baggett v. BP Expl. & Prod., No. 17-3030, R. Doc. 82; see also Heathington v. BP Expl. & Prod.,

No. 17-4353, R. Doc. 82 (Barbier, J.); Barkley v. BP Expl. & Prod., No. 13-995, R. Doc. 50 (Barbier, J.).

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